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' FILED

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW JERSEY MAR | b 2020
AT 8307.00... Va
WILLIAM T. WALSH
CLERK
IN RE: COURT OPERATIONS UNDER THE :
EXIGENT CIRCUMSTANCES CREATED BY ' STANDING ORDER 20-02
COVID-19

WHEREAS, a national emergency has been declared, and the Governor of New Jersey
has declared a State of Emergency and Public Health Emergency and has recommended the
cancellation of mass gatherings throughout the State in response to the spread of the coronavirus
(COVID-19);

WHEREAS, the Centers for Disease Control and Prevention and other public health
authorities have advised public and private agencies to promptly take necessary and appropriate
precautions to reduce exposure to COVID-19 and slow the spread of the disease; and

WHEREAS, jury selection in this District frequently involves large jury venire pools,
along with many individuals required to travel extensively; and

WHEREAS, circumstances regarding school closures will increase the impact on parents
summoned for jury service; and

WHEREAS, the current limitations on reasonably available COVID-19 testing increase
the uncertainty of the health status of summoned jurors and others; and

WHEREAS, as a public institution committed to the sound administration of equal
justice under law, this Court must take reasonable and prudent actions to further that mission;

NOW, THEREFORE, in order to further public health and safety, the health and safety
of Court personnel, counsel, litigants, other case participants, jurors, security personnel and the
general public and in order to reduce the number of gatherings necessarily attendant to trial jury

selection in all vicinages of this Court, and in order to minimize travel by participants in

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Court proceedings, (particularly travel by public conveyance), the United States District Court
for the District of New Jersey (“Court”) issues the following Order:

1. This Court, and the United States Courthouses in Camden, Newark and Trenton,
will remain open for official business, subject to the following:

2. Effective this date, all civil and criminal jury selections and jury trials in the District
of New Jersey scheduled to begin before April 30, 2020, are continued pending further Order of
the Court. The Court may issue further Orders concerning future general continuances of any
matters as may be deemed necessary and appropriate. All jury selections and trials impacted by
this Order will be reset by further Order of the assigned judicial officer.

3. All deadlines set by Federal or Local Rules or Court Orders, including, but not
limited to, scheduling orders in all civil and criminal cases, remain in effect unless modified by
further Order of the Court or by Order of the assigned judicial officer. Any dispute over whether
discovery can be effectively accomplished in a manner consistent with applicable health
guidelines may be referred to the Magistrate Judge for resolution. Judicial officers may apply
the principles of flexibility and accommodation to reasonable requests for filing or scheduling
adjustments necessitated by reasonable and fact-based travel, health or safety concerns, or advice
or directives of public health officials.

4. Aside from ordering a jury trial, individual judges presiding over civil and criminal
proceedings may take such actions consistent with this Order as may be lawful and appropriate
to ensure the fairness of the proceedings and preserve the substantial rights of the parties.

5. The Court recognizes the trial, procedural, and substantive rights of all litigants, and
particularly, the rights of criminal defendants to a speedy and public trial under the Sixth

Amendment (and the particular application of that right in cases involving defendants who are
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detained pending trial). Any request by a criminal defendant or the United States in a criminal
proceeding, or of a party to any civil action, seeking case-specific relief from any provision of
this Order is to be directed to the judicial officer assigned to the matter, provided, however, no
such exception for convening a jury trial during the relevant period covered by this Order may be
ordered without the approval of the Chief Judge after consultation with the assigned judge.

6. The time period of March 16, 2020 through April 30, 2020 shall be “excluded time”
under the Speedy Trial Act, 18 U.S.C.§ 3161(h)(7)(A), as the Court finds that the ends of justice
served by taking such action materially outweigh the best interests of the public and the parties in
a speedy trial. Specifically, such exclusion is necessary to assure that in cases going to trial,
there is a full, unhindered, continuously serving jury venire and seated jury in every case, which
is central to the sound administration of justice. Such exclusion of time is also necessary in cases
not yet set for trial in order to address the reasonably anticipated difficulties in defense counsel
communicating or visiting with clients (including those detained in locales and facilities under a
declared state of emergency), and the inherent delay in the scheduling of further trials as a
consequence of the exclusion period herein. The Court may by further Order extend the period of
exclusion as circumstances may warrant, and the assigned judicial officer may by Order also do
so as to any specific proceeding.

7. Individual judicial officers may continue to hold hearings, conferences, sentencings,
changes of plea hearings, and bench trials in the exercise of their sound discretion, and consistent
with the principles of this Order and the sound administration of justice.

8. All judicial officers are encouraged to conduct proceedings by telephone
or videoconferencing where practicable and as permitted by law, and to take reasonable

measures to avoid the necessity of out-of-town travel (especially by public conveyance) of any
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litigant, witness, counsel or the public. Further, all judicial officers are encouraged to consider
minimizing the need for the physical appearance of a detained person for the protection of the
health of such detained persons, counsel, Court and security personnel, other case participants
and the public, unless such appearance is otherwise required by Fed. R. Crim. P. 43.

9. In furtherance of this Court’s Alternative Dispute Resolution (“ADR”) Policies and
Procedures, the designated ADR neutral in any proceeding is hereby authorized to permit
participation in any ADR proceeding via video and/or telephone conference, if in his or her
judgment such shall be effective and doing so will minimize travel (especially by public
conveyance) by any participant.

10. Criminal matters before Magistrate Judges, such as initial appearances, arraignments,
detention hearings, and the issuance of search or other warrants, shall continue utilizing such
procedures as Magistrate Judges may direct which are consistent with this Order and
applicable law, including the use of video technology. All Central Violations Bureau
proceedings between March 16, 2020 and April 30, 2020 are continued pending further Order of
Court.

11. Sitting grand juries in each vicinage of the Court are authorized to continue to meet,
unless unable to form a quorum. However, no new grand juries will be empaneled during the
period of March 16, 2020 to April 30, 2020, or such other date set by the Court.

12. In the event that a grand jury is unavailable, or no quorum can be formed, in this
District, the 30-day time period for filing an indictment or an information shall be tolled as to
each defendant during the time period March 16, 2020 through April 30, 2020, pursuant to 18

U.S.C. § 3161(b).
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13. The Chief Judge of the Bankruptcy Court for this District shall enter such Orders as
she deems appropriate for the conduct of that Court’s business.

SO ORDERED.

DATED: March 16, 2020

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S. Chief District Judge
